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                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                     Debtors. 1                          (Jointly Administered)


    NOTICE OF AGENDA FOR STATUS HEARING ON NOVEMBER 21, 2023 AT 11:00
     A.M. (PREVAILING EASTERN TIME2) BEFORE THE HONORABLE THOMAS M.
    HORAN IN THE U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE

     This status hearing will be conducted via Zoom before the Honorable Thomas M. Horan,
    in the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd
      Floor, Courtroom #7. All parties, including witnesses, are expected to attend via Zoom.
                       All participants must register at the Zoom link below.
    https://debuscourts.zoomgov.com/meeting/register/vJItdeuopzopE9oSE5Coub16YkpkdxlaB9Y

      MATTER RESOLVED BY CNO

      1. Debtors’ Motion for Entry of an Order (I) Authorizing the Abandonment of Inventory and
         (II) Granting Related Relief [Filed November 2, 2023] (Docket No. 672).

          Response Deadline: November 14, 2023 at 4:00 p.m. (ET).

          Responses Received: None.

          Related Documents:

                   a.        Affidavit of Service [Filed November 9, 2023] (Docket No. 712).

                   b.        Certificate of No Objection Regarding Debtors’ Motion for Entry of an
                             Order (I) Authorizing the Abandonment of Inventory and (II) Granting
                             Related Relief [Filed November 16, 2023] (Docket No. 744).

          Status: This matter is resolved. A proposed order has been submitted under certification
          of counsel.



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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
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      All motions and other pleadings referenced herein are available online at the following web address:
      https://cases.stretto.com/Amyris.

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    CONTINUED MATTERS:

    2. Debtors’ Motion for an Order (I) Approving the Disclosure Statement; (II) Scheduling
       Confirmation Hearing; (III) Approving Form and Manner of Notice of Confirmation
       Hearing; (IV) Establishing Procedures for Solicitation and Tabulation of Votes to Accept
       or Reject Plan, Including (A) Approving Form and Content of Solicitation Materials; (B)
       Establishing Record Date and Approving Procedures for Distribution of Solicitation
       Materials; (C) Approving Forms of Ballots; (D) Establishing Voting Deadline for Receipt
       of Ballots and (E) Approving Procedures for Vote Tabulations; (V) Approving Form and
       Manner of Notice of Plan Releases; (VI) Establishing Deadline and Procedures for Filing
       Objections to Confirmation of Plan; and (VII) Granting Related Relief [Filed October 13,
       2023] (Docket No. 525).

        Response Deadline: November 14, 2023 at 5:00 p.m. (ET). The response deadline has
        been extended to December 1, 2023 at 4:00 p.m. (ET) for the Securities Exchange
        Commission, the Committee, DSM Firmenich AG, the Ad Hoc Group of Noteholders, the
        Indenture Trustee, and the Ad Hoc Group of Cross-Holders.

        Responses Received:

                 a.          Objection and Reservation of Rights of Lexon Insurance Company to the
                             Debtors’ Motion for an Order (I) Approving the Disclosure Statement; (II)
                             Scheduling Confirmation Hearing; (III) Approving Form and Manner of
                             Notice of Confirmation Hearing; (IV) Establishing Procedures for
                             Solicitation and Tabulation of Votes to Accept or Reject Plan, Including
                             (A) Approving Form and Content of Solicitation Materials; (B)
                             Establishing Record Date and Approving Procedures for Distribution of
                             Solicitation Materials; (C) Approving Forms of Ballots; (D) Establishing
                             Voting Deadline for Receipt of Ballots and (E) Approving Procedures for
                             Vote Tabulations; (V) Approving Form and Manner of Notice of Plan
                             Releases; (VI) Establishing Deadline and Procedures for Filing Objections
                             to Confirmation of Plan; and (VII) Granting Related Relief [Filed
                             November 14, 2023] (Docket No. 728).

                 b.          Lavvan, Inc.’s Objection to Disclosure Statement [Filed November 14,
                             2023] (Docket No. 730).

                 c.          United States Trustee’s Objection to Motion for an Order (I) Approving
                             the Disclosure Statement; (II) Scheduling Confirmation Hearing; (III)
                             Approving Form and Manner of Notice of Confirmation Hearing; (IV)
                             Establishing Procedures for Solicitation and Tabulation of Votes to Accept
                             or Reject Plan, Including (A) Approving Form and Content of Solicitation
                             Materials; (B) Establishing Record Date and Approving Procedures for
                             Distribution of Solicitation Materials; (C) Approving Forms of Ballots; (D)
                             Establishing Voting Deadline for Receipt of Ballots and (E) Approving
                             Procedures for Vote Tabulations; (V) Approving Form and Manner of
                             Notice of Plan Releases; (VI) Establishing Deadline and Procedures for
                             Filing Objections to Confirmation of Plan; and (VII) Granting Related
                             Relief [Filed November 16, 2023] (Docket No. 742).

        Related Documents:

                 a.          Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and its Affiliated
                             Debtors [Filed October 12, 2023] (Docket No. 523).

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                 b.          Disclosure Statement with Respect to Joint Chapter 11 Plan of
                             Reorganization of Amyris, Inc. and its Affiliated Debtors [Filed October 12,
                             2023] (Docket No. 524).

                 c.          Affidavit of Service [Filed October 26, 2023] (Docket No. 624).

        Status: This matter is continued to December 7, 2023 at 10:00 a.m. (ET).

    3. Motion of Ad Hoc Cross-Holder Group for Appointment of Examiner Pursuant to
       11 U.S.C. § 1104(c) [Filed November 11, 2023] (Docket No. 651).

        Response Deadline: November 10, 2023 at 4:00 p.m. (ET). The response deadline has
        been extended to December 1, 2023 at 4:00 p.m. (ET) for the U.S. Trustee, the Securities
        Exchange Commission, the Committee, DSM Firmenich AG, the Ad Hoc Group of
        Noteholders, the Indenture Trustee, and the Ad Hoc Group of Cross-Holders.

        Responses Received: None.

        Related Documents:

                 a.          Amended Notice of Motion of Ad Hoc Cross-Holder Group for
                             Appointment of Examiner Pursuant to 11 U.S.C. § 1104(c) [Filed
                             November 1, 2023] (Docket No. 657).

        Status: This matter is continued to December 7, 2023 at 10:00 a.m. (ET).

    4. Debtors’ Motion for Entry of an Order Establishing Confirmation Discovery Schedule and
       Protocols [Filed November 6, 2023] (Docket No. 688).

        Response Deadline: November 14, 2023 at 4:00 p.m. (ET). The response deadline has
        been extended to December 1, 2023 at 4:00 p.m. (ET) for the U.S. Trustee, the Securities
        Exchange Commission, the Committee, DSM Firmenich AG, the Ad Hoc Group of
        Noteholders, the Indenture Trustee, and the Ad Hoc Group of Cross-Holders.

        Responses Received:

                 a.          Lavvan, Inc.’s Objection to Debtors’ Motion to Establish Discovery
                             Schedule and Protocols [Filed November 14, 2023] (Docket No. 731).

        Related Documents:

                 a.          Affidavit of Service [Filed November 10, 2023] (Docket No. 719).

        Status: This matter is continued to December 7, 2023 at 10:00 a.m. (ET).

    5. Status Hearing: The Debtors will advise the Court on case status and pending matters.




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 Dated: November 17, 2023                 PACHULSKI STANG ZIEHL & JONES LLP

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